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Justin S. Beck CLERK, U.S. DISTRICT COURT
3501 Roselle St., SOUTHERNJDISTRICT OF CALIFORNIA
Oceanside, CA 92056 BY WY DEPUTH

 

 

 

760-449-2509
justintimesd@gmail.com

In Propria Persona

IN THE UNITED STATES DISTRICT COURT
FOR THE
SOUTHERN DISTRICT OF CALIFORNIA

 

) Case No.: 3:23-CV-0882-JES-NLS
JUSTIN 8S. BECK, )
) Judge: Hon. James E. Simmons, Jr.
Plaintiff, )
) EX PARTE APPLICATION FOR
vs. ) TEMPORARY RESTRAINING ORDER;
) DECLARATION OF JUSTIN S. BECK IN
SUPERIOR COURT OF CALIFORNIA, ) SUPPORT
COUNTY OF ORANGE )
)
Defendant, )
)
)

 

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I. INTRODUCTION

“A court of the United States may not grant an injunction to stay proceedings in a State court
except as expressly authorized by Act of Congress, or where necessary in aid of its jurisdiction, or to
protect or effectuate its judgments.” 28 U.S.C. § 2283.

Under 42 U.S.C. § 12101(b), “‘[i]t is the purpose of this chapter—(1) to provide a clear and
comprehensive national mandate for the elimination of discrimination against individuals with
disabilities; (2) to provide clear, strong, consistent, enforceable standards addressing discrimination
against individuals with disabilities; (3) to ensure that the Federal Government plays a central role in
enforcing the standards established in this chapter on behalf of individuals with disabilities; and (4) to
invoke the sweep of congressional authority, including the power to enforce the fourteenth amendment
and to regulate commerce, in order to address the major areas of discrimination faced day-to-day by
people with disabilities,” Plaintiff is disabled, prejudiced, and currently being exploited.

Plaintiff hereby applies for a temporary restraining order to stay proceedings in SUPERIOR
COURT OF CALIFORNIA, COUNTY OF ORANGE Case No. 30-2020-01145998. Such stay is
required as being expressly authorized by Congress in enacting Americans with Disabilities Act, Title
II because court proceedings are the primary function of SUPERIOR COURT OF CALIFORNIA,
COUNTY OF ORANGE. Plaintiff is being excluded from participation in or being denied the benefits
of the services, programs, or activities of SUPERIOR COURT OF CALIFORNIA, COUNTY OF
ORANGE. Further, Plaintiff is subject to discrimination by SUPERIOR COURT OF CALIFORNIA,
COUNTY OF ORANGE on the basis of Plaintiff's disability. Finally, a stay of proceedings is necessary
in aid of this Court’s jurisdiction under Title II of the Americans with Disabilities Act.

The Court must exercise jurisdiction in order to enforce the fourteenth amendment because
SUPERIOR COURT, COUNTY OF ORANGE, The State Bar of California, State of California, and
Orange County District Attorney’s Office are each depriving Plaintiff the most basic inalienable right
to life, liberty, and property without due process of law, with malice.

Plaintiff is likely to succeed on the merits, he is likely to suffer irreparable harm if the Court does
not grant preliminary relief, SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE will not

be prejudiced whatsoever if relief is granted, and an injunction is in the best interest of the public.

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Il. LEGAL STANDARD

A party seeking a preliminary injunction “must establish that he is likely to succeed on the merits,
that he is likely to suffer irreparable harm in the absence of preliminary relief, that the balance of equities
tips in his favor, and that an injunction is in the public interest.” Winter v. Natural Res. Def: Council,
Inc., 129 §.Ct. 365, 374 (2008). The mere possibility of irreparable harm is not enough. Rather, the
plaintiff must establish such harm is likely. All, for the Wild Rockies v. Cottrell, 632 F.3d 1127,
1131 (9th Cir. 2011). The standards for issuing a temporary restraining order are similar to those
required for a preliminary injunction. Lockheed Missile & Space Co., inc. vy. Hughes Aircraft Co., 887
F.Supp. 1320, 1323 (N.D. Cal. 1995). The Court's decision on a motion for a preliminary injunction is
not a ruling on the merits. See Sierra OnLine, Inc. v. Phoenix Software, Inc., 739 F.2d 1415, 1422 (9th
Cir. 1984). D.M. v. Or. Scholastic Activities Ass'n, Civ. 6:22-cv-01228-MC, 4-5 (D. Or. Sep. 9, 2022)

Title II of the ADA provides that “no qualified individual with a disability shall, by reason of
such disability, be excluded from participation in or be denied the benefits of the services, programs, or
activities of a public entity, or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132.
To succeed on his Title I claim, Plaintiff must show (1) he is a qualified individual with a disability,
(2) he was excluded from participation in or otherwise discriminated against with regard to a public
entity's services, programs, or activities, and (3) such exclusion or discrimination was by reason of his
disability. Lovell v. Chandler, 303 F.3d 1039, 1052 (9th Cir. 2002). A “disability” is “a physical or
mental impairment that substantially limits one or more major life activities.” 42 U.S.C. § 12102(1)(A).
Public entities include “any department, agency, special purpose district, or other instrumentality of a
State or States or local government.” 42 U.S.C. § 12131(1)(b).

“[FJailure to provide [a] reasonable accommodation can constitute discrimination.” Updike v.
Multnomah Cnty., 870 F.3d 939, 951 (9th Cir. 2017) (quoting Vinson v. Thomas, 288 F.3d 1145,
1154 (9th Cir. 2002)), Plaintiff must demonstrate “the existence of a reasonable accommodation” that
would enable him to participate in the activity at issue. Pierce v. County of Orange, 526 F.3d 1190, 1217
(9th Cir. 2008) (quoting Zukle v. Regents of Univ. of Cal., 166 F.3d 1041, 1046 (9th Cir. 1999)). The
burden then shifts to Defendant to show that the modification would require a fundamental alteration or

pose an undue hardship on the entity. /d. (citing 28 C.F.R. § 35.150(a)(3)). The reasonableness

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determination is a fact-specific, case-by-case inquiry based on the disabled individual's circumstances
and the accommodations sought. Wong v. Regents of Univ. of Cal., 192 F.3d 807, 818 (9th Cir. 1999).
D.M. v. Or. Scholastic Activities Ass'n, Civ. 6:22-cv-01228-MC, 5-6 (D. Or. Sep. 9, 2022)
Il. ARGUMENT

1. Plaintiff is Likely to Succeed on the Merits

A. Plaintiff is a Qualified Individual with a Disability

Plaintiff suffers from post-traumatic stress disorder and Legal Abuse Syndrome (LAS) which is
a separate diagnosis in DSM-5 (Diagnostic and Statistical Manual of Mental Disorders version 5) caused
when a person is repeatedly dragged back into court on false allegations or other misinformation. He
suffers from severe emotional distress that is often debilitating, and which contributed to a seizure on
December 1, 2022, from contraindication of medication, due to the abuse he has suffered in SUPERIOR
COURT OF CALIFORNIA, COUNTY OF ORANGE. Declaration of Beck (“Decl.”) 4 1. Ex. 1.

Importantly, as set forth in Plaintiff's compendium of exhibits (G059766), the Court of Appeal
has already concluded a series of cases were filed against Plaintiff without objective probable cause (as
in, it is incurable). Despite this, SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
purports that it is his abusers’ right to file meritless and frivolous litigation without restraint, without
regard for the Fourteenth Amendment to the United States Constitution. Decl. § 2.

B, Plaintiff was Excluded from Participation or Denied Benefit of Defendant Services

Plaintiff verifies the operative complaint as being true and correct. Decl. § 3. On notice of his
harm, SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE refuses to accommodate his
needs which require nothing but adherence to mandatory law and some nominal adjustments to protect
him. Decl. {| 4. Worse, SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE is
exacerbating Plaintiff's harm in active concert with his abusers. Decl. 4 5. SUPERIOR COURT OF
CALIFORNIA, COUNTY OF ORANGE is retaliating against Plaintiff by refusing to enter defaults
against State of California which refuses to appear in one case (30-2021-01237499), and further, the
court refuses to even place the remanded case (from January 12, 2023) on the docket. Decl. 4 6. The
court has gone so far as to remove Plaintiff's motion for summary judgment, evidence, and papers from

his record in one case to conceal the facts of public corruption and oppress him. Decl. 4 7. Ex. 3.

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Here, Plaintiff asked for (and needs): 1) physical separation, if requested, from his abusers; 2)
having his ADA advocate by his side or by telephone/Zoom, and a support person if requested; 3)
allowance for 15-minute breaks if he becomes symptomatic; 4) digital recording of all proceedings to
ensure they can be remembered; 5) accommodations when made to testify that he can prepare and is not
“put on the spot”; 6) that he not be pressured under duress to make material decisions in court; 7) that
his disabilities not be exploited in any way, by any person, party, the court, staff or bailiffs, that may be
present in court or out of court; 8) that the Court scrutinize discovery and provide accommodation
limiting circumstances likely to trigger symptoms; 9) the court consider the ex parte application and un-
waivable conflicts, concealment of facts, court orders, and threat of further irreparable harm. Decl. { 4.

After Plaintiff made accommodation requests, on April 18, 2023, SUPERIOR COURT OF
CALIFORNIA, COUNTY OF ORANGE asserted that Plaintiff's needs were “unreasonable” without
explanation. The same day, the court denied the reserved ex parte hearing after directing Plaintiff to file
a protective order in apparent retaliation for making request for disability accommodations. Decl. 4 5.

On May 5, 2023, SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE — after five
years of well documented abuse against Plaintiff and nearly twenty years of fraud and adjudicated,
vexatious litigation by his abusers against other innocent people — the court sanctioned the disabled
Plaintiff and compelled him to produce discovery to his abusers despite their mandatory disqualification
and violations of law under California Rules of Professional Conduct 1.7(d)(3) and 1.9. Decl. 4 8. In
other words, the court looked past the conduct to which Plaintiff has been subject for five years,
overlooked the mandatory disqualification of his abusers, refused to consider several Court of Appeal
rulings or a trial of fact before the same judicial officer, and granted license to his abusers to “have
another go” at the disabled Plaintiff after denying ADA accommodations with malice. Decl. § 8.

C. Such Exclusion or Discrimination was By Reason of Plaintiff's Disability

As set forth in his verified complaint, the ADA coordinator Becky Torres was anything but
accommodating — she refused to answer questions of Plaintiff or his advocate. Decl. § 9. The judicial
officer on May 5, 2023, without regard of the U.S. Constitution, said that it was his abusers’ right to file
meritless cases. Decl. | 2. The discrimination and retaliation against Plaintiff is increasing, not

decreasing, in veracity now that the court knows Plaintiff is disabled. (See Complaint, Exhibits).

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2. Plaintiff is Likely to Suffer Irreparable Harm Absent Preliminary Relief

Not only will Plaintiff suffer irreparable harm, his condition was caused in part by SUPERIOR
COURT OF CALIFORNIA, COUNTY OF ORANGE. If the Court does not stay proceedings until such
time that he is accommodated or related RICO allegations are heard (3:22-CV-01616-AGS-DDL),
Plaintiff faces not only health complications and adverse symptoms, but he faces an ongoing and
perpetual “snowball” of this: he need not show he is a victim of serial fraud, because the Court of Appeal
has shown it (as a matter of law RE: no objective probable cause), and U.S. District Court, Circuit Court
as well as The State Bar of California have furnished cumulative evidence. (Exhibits), Decl. 4 10.

The May 5, 2023, order sanctioning Plaintiff, compelling him to produce discovery is
unconscionable under the circumstances: the Court is requiring the disabled Plaintiff to produce
thousands of documents while it grants license to Plaintiff's abusers to violate mandatory law. Plaintiff
cannot comprehend how this is occurring but for making reasonable inferences: The State Bar of
California admitted on March 10, 2023, that it was infected by bribery and corruption. Decl. J 11. One
of Defendant’s clerks was sentenced for violating RICO and fixing 1,000 cases in September 2017.
Decl. { 12. Orange County District Attorney’s Office was subject to civil rights investigation by the U.S.
finding systematic violations of the Fourteenth Amendment. Decl. 4 13. Something is going on in
Defendant’s court. Compelling Plaintiff to produce discovery while ignoring un-waivable conflicts of
interest as RICO allegations are pending, as SUPERIOR COURT OF CALIFORNIA, COUNTY OF
ORANGE refuses to accommodate Plaintiff, is a license to defraud Plaintiff and other innocent people
further. It makes no sense, it is unequal, malicious, and makes the judicial machinery appear unfair.

3. The Balance of Equities Tips in Plaintiff's Favor

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE will suffer no hardship by
staying all proceedings in Case No. 30-2020-01 145998. If the proceedings are not stayed, Plaintiff could
be found in contempt if he fails to comply with the overwhelming requests from his abusers who have
demanded information prejudicial to their own clients, and if he does comply with the overwhelming
requests — he and others could suffer from years of additional harassment under color of law and the
guise of “advocacy.” Plaintiff relies upon the compendium of exhibits and 454 pages of court orders, a

trial of fact, and The State Bar of California’s own summary: Plaintiff's abusers are a threat to the public.

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4. An Injunction is in the Public Interest

Allowing SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE to freely violate
the Fourteenth Amendment to the United States Constitution and the Americans with Disabilities Act,
Title II is an affront to democracy and mandate of Congress. Plaintiff's abusers, including SUPERIOR
COURT OF CALIFORNIA, COUNTY OF ORANGE also make The State Bar of California — which
recently admitted to its own corruption and bribery schemes on March 10, 2023 — look even worse which
is a danger to the public, courts, and legal profession. There is no benefit (except to Plaintiff’s abusers)
to society or the public by enabling the conduct to which Plaintiff is subject. This Court needs to hit the
“pause” button. Plaintiff is suffering, other people are suffering, and there is no end in sight. Where The
State Bar of California refuses to perform its most basic function, and judicial officers in SUPERIOR
COURT OF CALIFORNIA, COUNTY OF ORANGE are enabling the conduct, the U.S. District Court
is bound to act by Congress under the Americans with Disabilities Act, Title II as a matter of law.

5. A Temporary Restraining Order Can Issue without Notice, Here

The court may issue a temporary restraining order without written or oral notice to the adverse
party or its attorney only if: (A) specific facts in an affidavit or a verified complaint clearly show that
immediate and irreparable injury, loss, or damage will result to the movant before the adverse party can
be heard in opposition, and (B) the movant’s attorney certifies in writing any efforts made to give notice
and the reasons why it should not be required.

(A) Movant shows in his verified complaint that he is being compelled to produce voluminous
discovery to attorneys engaged in serial fraud in SUPERIOR COURT OF CALIFORNIA, COUNTY
OF ORANGE which is due on May 25, 2023. Decl. J 3, 15. There is no time to be heard. Plaintiff adds
454 pages of exhibits reflecting at least five fraudulent schemes constituting a pattern of practice: if
Plaintiff has to produce more information, it is certain to result in more fraud and meritless litigation
lacking probable cause that will trigger symptoms in the indigent, disabled Plaintiff. Decl. 9 3, 15.

(B) Movant certifies in writing that he gave notice to SUPERIOR COURT OF CALIFORNIA,
COUNTY OF ORANGE - but notice should not be required. ADA says that Plaintiff need not take any
acts “for show” when it is clear Defendant will not accommodate him nor will it protect him as required

under the Fourteenth Amendment, nor will it suffer harm placing a stay on abuse. Decl. J 16. Ex. 11.

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IV. CONCLUSION

Respectfully Submitted,
May 15, 2023,

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For the foregoing reasons, Plaintiff requests the Court grant Plaintiff's temporary restraining
order application. A proposed order was delivered to chambers upon filing this application, and a copy

was furnished to SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE.

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Justin Sf Beck, Plaintiff
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Qualified Individual Under ADA, Title II

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DECLARATION OF JUSTIN S. BECK IN SUPPORT OF INUNCTIVE RELIEF
I, Justin S. Beck, hereby declare under penalty of perjury under the laws of the State of
California: I have personal knowledge of each fact set forth within this declaration, my complaint for
declaratory relief, injunctive relief, and damages, and the authenticity of each exhibit attached. If called
to testify, | could and would do so competently on any matter to which I declare.

1. I suffer from severe emotional distress, depression, and anxiety which substantially limit my
ability to read, concentrate, think, and communicate on a daily basis. During the scheme described
in my complaint, my psychiatrist prescribed escitalopram for my severe symptoms. On
December 1, 2022, that medication contraindicated with Vyvanse, which I had taken for nearly
ten years without issue to treat attention deficit hyperactivity disorder — resulting in a seizure. To
remove the risk of seizure, | was ordered to cease taking both medications, leaving me with
unmedicated severe depression, anxiety, and attention deficit hyperactivity disorder. During this
proceeding, I intend to furnish proof consisting of expert physician testimony of my post-
traumatic stress disorder and Legal Abuse Syndrome (DSM-5). As direct and proximate cause
of these factors, I am presently unemployed, have trouble sleeping, and my cognition is affected
severely from time to time which substantially affects virtually all of my major life activities.

2. When I told Honorable Randall J. Sherman on May 5, 2023 in open court, of the health and due
process implications of my being forced to produce discovery to attorneys engaged in serial
fraud, amidst un-waivable violations of California Rules of Professional Conduct 1.7(d)(3) and
1.9 propounded on behalf of parties Catanzarite was concurrently adverse to, suing, and/or
tolling claims against to “bring later” — especially after Catanzarite Law Corporation had been
disqualified four times in the same or substantially related matters — 1 was informed that it was
Catanzarite’s right to file frivolous litigation lacking objective probable cause. The State Bar of
California refuses to do anything, either. I have exhausted all other avenues of remedy.

3. Ihereby verify the contents of my complaint in this case as being true and correct. I am readily
familiar with all the facts set forth in my complaint, the public records produced to me by The
State Bar of California about Catanzarite, and the fraudulent nature of claims directed,

adjudicated, and re-directed at me.

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4. The following accommodations were denied by SUPERIOR COURT OF CALIFORNIA,

COUNTY OF ORANGE on April 18, 2023: 1) physical separation, if requested, from my
abusers; 2) having my ADA advocate by my side or by telephone/Zoom, and a support person if
requested; 3) allowance for 15-minute breaks if | become symptomatic; 4) digital recording of
all proceedings to ensure they can be remembered; 5) accommodations when made to testify that
I can prepare and I am not “put on the spot”; 6) that I not be pressured under duress to make
material decisions in court; 7) that my disabilities not be exploited in any way, by any person,
party, the court, staff or bailiffs, that may be present in court or out of court; 8) that the Court
scrutinize discovery and provide accommodation limiting circumstances likely to trigger
symptoms; 9) the court consider my ex parte application scheduled for April 18, 2023, the un-
waivable conflicts impairing or eliminating my due process rights protected by the fourteenth
amendment, and the concealment of facts, court orders, and the threat of further irreparable harm

that I faced without objective probable cause after 5-years of abuse shown by court orders.

. The same day my ADA accommodations were denied as being “unreasonable,” April 18, 2023,

my ex parte application raising ADA accommodation needs, due process violations, and
violations of mandatory law was denied on the basis that there was “[n]o good cause to have this
matter heard on shortened notice by an Ex Parte Application.” Showing such cause did exist, the
Court granted motions to compel discovery from Catanzarite on May 5, 2023, but disregarded
mandatory disqualification and mandatory law violations by the firm through unequal
application of the law. This has exacerbated my condition, and SUPERIOR COURT OF
CALIFORNIA, COUNTY OF ORANGE has no regard for me or my rights to ADA

accommodations or due process.

. [have a pending Government Claims Act case before SUPERIOR COURT OF CALIFORNIA,

COUNTY OF ORANGE (30-202 1-01237499) in which State of California has been served and
refuses to appear or answer, I have requested defaults, but the Court refuses to enter them. I tried
to remove the case to U.S. Central District of California, Southern Division citing a lack of fair
and neutral forum — it was remanded January 12, 2023. SUPERIOR COURT OF CALIFORNIA,
COUNTY OF ORANGE refuses to place the case on the docket.

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On February 15, 2023, after 30-2021-01237499 was remanded on January 12, 2023, SUPERIOR
COURT OF CALIFORNIA, COUNTY OF ORANGE staff manipulated my record by removing
ROA #101, ROA #103, ROA #107, and ROA #111 from the case — which were summary
judgment papers that were accepted in July 2022.

On May 5, 2023, during the hearing concerning motions to compel discovery, the Court granted
all motions filed unlawfully by Catanzarite, without regard for mandatory disqualification or
law, and ordered me to produce it within 20-days without objection, and sanctioned me $2,990.
The ADA Coordinator, Becky Torres, for SUPERIOR COURT OF CALIFORNIA, COUNTY
OF ORANGE has failed repeatedly to communicate with me or my advocate in a timely or
effective manner.

I have shown through my verified complaint and the associated compendium exhibits that I am
virtually certain to face serial fraud and more frivolous litigation if the Court does not place a
stay on 30-2020-01145998 to ensure | am accommodated and that my due process rights are no
longer abrogated in favor of Catanzarite. I also understand violations of the United States
Constitution constitute irreparable harm, and my fourteenth amendment rights are abrogated
every day I appear amidst un-waivable conflicts of interest, or without regard for my disability.
On March 10, 2023, The State Bar of California publicly announced that it was infected with
bribery and corruption. Specifically, it confirmed a private lawyer had paid over $1,000,000 to
staff, provided gifts to staff and leadership, and even employed relatives at his law firm.

On September 22, 2017, U.S. Attorney’s Office announced a former clerk for SUPERIOR
COURT OF CALIFORNIA, COUNTY OF ORANGE was sentenced to over | l-years in prison
for violating RICO in a bribery scheme to fix over 1,000 cases.

On October 13, 2022, U.S. Department of Justice announced Orange County District Attorney’s
Office and Sheriff's Department were found by the Civil Rights Division to have operated a
custodial informant program that systematically violated Fourteenth Amendment rights.

I was compelled to produce volumes upon volumes of documents and interrogatories to
Catanzarite Law Corporation by May 25, 2023 — as it continues to represent parties it was

disqualified from representing in the same or substantially related matters — and as it engages in

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material conflicts of interest. The firm even demurred to my pleading that their own conflicts,
which are no fault of mine, affect their attorney’s due process rights and inability to provide a
defense. It is against mandatory law, including but not limited to California Rules of Professional
Conduct 1.7(d)(3) and 1.9, to engage in these conflicts. SUPERIOR COURT OF CALIFORNIA,
COUNTY OF ORANGE is unreasonably favoring the rights of Catanzarite as it strips me of my
constitutional right to due process of law protected by the fourteenth amendment.

Within my complaint and exhibits, I show five separate fraudulent and malicious schemes using
the judicial system to extort litigants and/or insurance carriers. SUPERIOR COURT OF
CALIFORNIA, COUNTY OF ORANGE is unreasonably carrying this on and further granting
license to perpetuate it. I lose several hours of sleep each night thinking about it and the
depression I’m experiencing is debilitating. Attorneys are afraid to represent me because I’m
combatting corruption at The State Bar of California and have compared Kenneth J. Catanzarite
to Thomas V. Girardi. I cannot afford to endure more frivolous or fraudulent litigation where my
policy was already depleted by $1.26 million as of July 13, 2022, by Catanzarite pursuing
knowingly false claims lacking objective probable cause. I have no income as a direct and
proximate cause of these schemes,

I provided written notice to SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
of the filing of my lawsuit, attached a copy, and furnished a draft of my temporary restraining
order application with my intent to file it should they wish to oppose it.

I presented claims under Government Claims Act which were denied on or about December 22,
2022, vesting my right to sue SUPERIOR COURT OF CALIFORNIA, COUNTY OF
ORANGE, with waiver of sovereign immunity (as provided by statute).

Attached as Exhibit | is a true and correct copy reflecting my December 2, 2022, physician’s
visit showing contraindication of medication and a seizure. I obtained this through my
physician’s online portal.

Attached as Exhibit 2 is a true and correct copy of the docket in Orange County Superior Court

Case No. 30-2021-01237499 — which I sought to remove to U.S. Central District, Southern

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23:

24,

b 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.666 Page 13 of 54

Division — before it was removed for lack of removal jurisdiction on January 12, 2023. I printed
this from Pacer.

Attached as Exhibit 3 is a true and correct copy of a notice of only some of the filings that were
surreptitiously removed from my record in Orange County Superior Court Case No. 30-2021-
01237499 on February 15, 2023, after they were accepted on or around July 18, 2022. I received
this notification by email.

Attached as Exhibit 4 is a true and correct copy of a rejection notice I received after requesting
an entry of default against State of California which refuses to appear in Orange County Superior

Court Case No. 30-2021-01237499. I obtained this through Swift Attorney Service.

. Attached as Exhibit 5 is a true and correct copy of third-party proof of service of summons in

Orange County Superior Court Case No. 30-2021-01237499 on The State of California. The
State of California refuses to appear in the case since it was named May 2, 2022. I obtained this
through Swift Attorney Service.

Attached as Exhibit 6 is a true and correct copy denying my ex parte application without a
hearing after I was directed by the Court to file for a protective order to prevent or restrain the
procedural abuse of which I complain. I received this the same time I received complete denial
of my ADA accommodations on April 18, 2023.

Attached as Exhibit 7 is a true and correct copy of the tentative ruling that was adopted on May
5, 2023, compelling me to produce voluminous discovery without regard for mandatory
disqualification of Catanzarite, serial violations of California Rules of Professional Conduct
1.7(d)(3), 1.9, four disqualification orders in the same or substantially related matters, or my due
process rights. The Court says “monetary sanctions are mandatory” as it disregards that
disqualification was mandatory, and that the propounding of discovery on behalf of parties
Catanzarite sued, is tolling claims against, and/or is directly adverse to in the same proceeding
under the circumstances was unlawful in the first instance. I obtained this from One Legal

through Notice of Ruling delivered me by Catanzarite.

3:23-CV-0882-JES-NLS 13 Application for TRO

 
Cask

Co wo sa DBD we FSF WY KRY =

BRB BRO RD ND ORD DR eee

 

b 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.667 Page 14 of 54

 

20%

26.

27.

28.

Attached as Exhibit 8 is a true and correct copy ofa press release from The State Bar of California
dated March 10, 2023, wherein it is disclosed that its operations were infected with bribery and
corruption. I obtained this from the internet.

Attached as Exhibit 9 is a true and correct copy ofa press release from the U.S. Attorney’s Office
dated September 22, 2017, wherein it is disclosed that a former clerk in SUPERIOR COURT
OF CALIFORNIA, COUNTY OF ORANGE was sentenced to over 11-years in prison for fixing
over 1,000 cases in a bribery scheme, in violation of RICO (18 U.S.C. § 1962(d),) I obtained this
from the internet.

Attached as Exhibit 10 is a true and correct copy of a press release from United States
Department of Justice dated October 13, 2022, describing an investigation of Orange County
District Attorney’s Office and Orange County Sheriff's Department involving systematic
Fourteenth Amendment violations. I obtained this from the internet.

Attached as Exhibit 11 is a true and correct copy of an email I sent to SUPERIOR COURT OF
CALIFORNIA, COUNTY OF ORANGE notifying it of the pendency of the instant case,
including a copy of my draft application for temporary restraining order, and intent to file it. I
sent this email and am readily familiar with its contents.

I DECLARE THE FOREGOING TO BE TRUE AND CORRECT UNDER PENALTY OF
PERJURY. ’M SIGNING THIS FROM OCEANSIDE, CALIFORNIA ON MAY 15, 2023.

Ae-

v
Justin S. Beck

Declarant

3:23-CV-0882-JES-NLS 14 Application for TRO

 
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.668 Page 15 of 54

TRO Application
Exhibit #1
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.669 Page 16 of 54

12/5/22, 3:32 PM Patient Portal - health > care summaries

CLANCY MEDICAL GROUP ¢ 2375 S. MELROSE DR., VISTA CA 92081-8788
BECK, Justin (id #5612, dob: 09/05/1980)

CLANCY MEDICAL GROUP
2375 §. MELROSE DR.
VISTA, CA 92081-8788
Phone: (760) 305-1900, Fax: (760) 305-1910

Date: 12/02/2022

Dear Justin Beck,

The following is a summary of your visit today. If you have any questions, please contact our office,

Sincerely,

Electronically Signed by: JOHN H. CLANCY, DO

Patient Care Summary for Justin Beck
Most Recent Encounter

12/02/2022 John Harold Clancy: 2375 S. Melrose Dr., Vista, CA 92081-8788, Ph. tel:+1-760-3051900
Reason for Visit

follow-up

Assessment and Plan
The following list includes any diagnoses that were discussed at your visit.

Assessment Note

Patient presented for follow up of: . Studies ordered as below. Discussed plan with , who expressed understanding. Follow
up as noted below.

1. Seizure disorder

New onset

lab work

neurology referral

contact psychiatrist

discontinue lexapro and discuss weaning Vyvanse as combination may cause higher seizure threshold
* epilepsy: care instructions

* neurologist referral

2. Moderate major depression
contact PSychiarist and new referralexplained process

Discussion Note: None recorded.

Plan of Care
Reminders Provider

Appointments None recorded.

Beck TRO Application (3:23-CV-0882-JES-NLS ibi :
agri GgAF athe REAGAN INR toc rT Ce doin Gedo EMR OS AAAS LAATTATIN atten UEC AMAA... 1/3
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.670 Page 17 of 54

12/5/22, 3:32 PM Patient Portal - health > care summaries

CLANCY MEDICAL GROUP ¢ 2375 S. MELROSE DR., VISTA CA 92081-8788
BECK, Justin (id #5612, dob: 09/05/1980)

Reminders ce ceceeeeeeecee ee ceeeeeccceeeeserseeeeceesestenentesemessesetesesseeeseeseeeecessee Provider
Lab None recorded.

Referral Neurologist Referral 12022022
Procedures Nonerecorded,
Surgeries Nonerecorded,
Imaging i Nonerecorded.

Current Medications

Your medical record indicates you are on the following medicine. If this list is not consistent with the
medications you are currently taking, or if you are taking additional over-the-counter medicines, please inform
your provider.

Name Prescribed Date Start Date
albuterol sulfate HFA 90 mcg/actuation aerosol inhaler

escitalopram 10 mg tablet
TAKE 1 TABLET BY MOUTH EVERY DAY

oxycodone-acetaminophen 5 mg-325 mg tablet
TAKE 1 TABLET BY MOUTH EVERY SIX HOURS AS NEEDED FOR PAIN

Vyvanse 60 mg capsule
TAKE 1 CAPSULE BY MOUTH EVERY DAY IN THE MORNING

Medications Administered
None recorded.
Vitals
Blood Respiration
Height Weight BMI Eoaaith Pulse O02 Saturation Temperature Rate
5 ft 10 in 220.8 lbs With 317 130/81 96 bpm 97% Room Air at 97.5 F° temporal 418
Stated clothes kg/m2 mmHg] regular Rest artery
Notes; EEE
Anna Eaey MA
Rosuitte
Lab Results
None recorded.
Allergies
Please review your allergy list for accuracy. Contact your provider if this list needs to be updated.
Code Code System Name Reaction Severity Onset

NKDA

Beck TRO Application (3:23-CV-0882-JES-NLS ibi :
sera eH Octo rete See te Tee Tabane 42Neaenwee UM AFCA a.. 2/3
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.671 Page 18 of 54

12/5/22, 3:32 PM Patient Portal - health > care summaries

CLANCY MEDICAL GROUP ° 2375 S. MELROSE DR., VISTA CA 92081-8788
BECK, Justin (id #5612, dob: 09/05/1980)

Problems

Name Status Onset Date Source
Moderate Major Depression Active 08/11/2022

Attention Deficit Hyperactivity Disorder, *, Predominantly Inattentive > Type Active 08/11/2022
Hraeedliras:

None recorded.

Vaccine List

Here is a copy of your most up-to-date vaccination list.

None recorded.

Tobacco Smoking Status
Tobacco emma Status Never Smoker

Past eresantaas:

a Diagnosis Provider

42102/2022 Seizure Disorder; Moderate Major John Harold Clancy, DO: 2375 S. Melrose Dr., Vista, CA 92081-8788,
Depression Ph. (760) 305-1900

Demographics

Sex: Male Ethnicity: Information not available

DOB: 09/05/1980 Race: Information not available —

Preferred language: English Marital status: Information not available

Contact: 3501 Roselle St, Oceanside, CA 92056, Ph. tel:+1-760-4492509

 

Note: Patients are solely responsible for maintaining the privacy and security of all information printed from the
Patient Portal.

eck TRO Application ( (3:23-CV-0882-JES-NLS) xhibit ele Q04
https://11800 aoe athenahealth .com/?section=health&sub=care_summaries&eidh=76efce | 7ab8f3afc75f65e | a473432f0 &athenareferrer= TENTCA MMA... 3/3

Exhibit 1: 003 Ze 2-CV- 01 61 6-BAS-DDL
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.672 Page 19 of 54

Exhibit #2
TRO Application
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.673 Page 20 of 54

CM/ECF - California Central District

1/22/23, 12:54 PM

Query Reports

Utilities Help

Log Out

(ADSx),CLOSED,DISCOVERY,MANADR, REMANDED

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA (Southern Division - Santa Ana)
CIVIL DOCKET FOR CASE #: 8:23-cv-00022-FWS-ADS

Justin S. Beck v. The State Bar of California et al
Assigned to: Judge Fred W. Slaughter

Referred to: Magistrate Judge Autumn D. Spaeth
Demand: $9,999 000

Case in other court: Orange County Superior Court, 30-02021-

01237499
Cause: 28:1441 Notice of Removal
Plaintiff
Justin S. Beck

an individual

V.

Defendant

The State Bar of California
a public corporation and public entity

Defendant
Anand Kuman

Defendant

Ruben Duran
an individual employee acting in an official
capacity

Defendant

https://ecf.cacd uscourts.gov/cgi-bin/DktR pt.pl?218268743665953-L_1_0-1

represented by

represented by

represented by

represented by

Date Filed: 01/05/2023

Date Terminated: 01/12/2023

Jury Demand: Defendant

Nature of Suit: 950 Constitutional - State
Statute

Jurisdiction: Federal Question

Justin S. Beck

3501 Roselle Street
Oceanside, CA 92056
760-449-2509

PRO SE

Suzanne Grandt

The State Bar of California

180 Howard Street

San Francisco, CA 94105
415-538-2388

Fax: 415-538-2321

Email: suzanne.grandt@calbar.ca.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

Suzanne Grandt

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Suzanne Grandt

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Beck TRO Application (3:23-CV-0882-JES-NLS)

1/3
Exhibit 2: 004
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.674 Page 21 of 54

CM/ECF - California Central District

1/22/23, 12:54 PM

Carissa Andresen
an individual employee acting in an official
capacity

Defendant

Suzanne Grandt
an individual employee acting in an official
capacity

Defendant
Legislature of the State of California

Defendant

Office of Attorney General
law firm for State of California

Defen t

Speaker of the California State Assembly
an individual elected official acting in an
official capacity

Defendant

President Pro Tempore of the California
State Senate

an individual elected official acting in an
official capacity

Defendant

Leah T. Wilson
an individual acting in an official capacity

represented by Suzanne Grandt

(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

represented by Suzanne Grandt

(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

 

 

 

 

 

Defendant

DOES

9-30

Date Filed # | Docket Text

01/05/2023 1 | NOTICE OF REMOVAL from Orange County Superior Court, filed by Plaintiff Justin S.
Beck. Case number 30-2021-1237499 with copy of complaint. Case assigned to Judge Fred
W. Slaughter, Discovery to Magistrate Judge Autumn D. Spaeth. (Attachments: # | Part 2, #
2 Part 3, # 3 Part 4, #4 CV71) (jtil) (Entered: 01/11/2023)

01/05/2023 2 | REQUEST to Proceed In Forma Pauperis, Declaration in Support filed by Plaintiff Justin S.
Beck. (jtil) (Entered: 01/11/2023)

01/11/2023 3 | NOTICE OF ASSIGNMENT to District Judge Fred W. Slaughter and Magistrate Judge
Autumn D. Spaeth. (jtil) (Entered: 01/11/2023)

01/11/2023 4 | NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (jtil) (Entered:
01/11/2023)

 

 

 

 

 

https://ecf.cacd uscourts ,gov/cgi-bin/DktR pt.pl?218268743665953-L_1_0-1

 

Beck TRO Application (3:23-CV-0882-JES-NLS)
2/3
Exhibit 2: 002
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.675 Page 22 of 54

1/22/23, 12:54 PM

CM/ECE - California Central District

 

01/11/2023

Notice to Counsel Re Consent to Proceed Before a United States Magistrate Judge. (jtil)
(Entered: 01/11/2023)

 

01/11/2023

CIVIL STANDING ORDER by Judge Fred W. Slaughter. (mku) (Entered: 01/11/2023)

 

01/12/2023

MINUTES ORDER REMANDING Action | and DENYING AS MOOT IFP Request 2 by
Judge Fred W. Slaughter: Plaintiff may not remove the underlying action filed in Orange
County Superior Court, Case No. 30-2020-01145998, the court concludes that removal is
improper and REMANDS the action. The court also DENIES AS MOOT Plaintiffs Request
to Proceed In Forma Pauperis. The clerk is directed to close this case. (MD JS-6, Case
Terminated.) (jp) (Entered: 01/12/2023)

 

01/12/2023

 

 

 

TRANSMITTAL of documents to Orange County Superior Cour. A certified copy of the
order of remand and a copy of the docket sheet from this court was sent to Orange County
Superior Court - Central Justice Center. Case number: 30-02021-01237499. (jp) (Entered:
01/12/2023)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PACER Service Center

| Transaction Receipt |
| 01/22/2023 12:54:03 |
oe justintimesd ||Client Code:
Login:

so. Docket Search 8:23-cv-00022-FWS-ADS
USSERIPEOTS ort Criteria: [End date: 1/23/2023
Billable 3 Cost: 0.30
Pages:

 

 

 

 

 

 

 

 

 

 

 

 

Beck TRO Application (3:23-CV-0882-JES-NLS)

https://ecf.cacd uscourts gov/cgi-bin/DktR pt.pl?218268743665953-L_1_0-1

Exhibit 2: 003

3/3
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.676 Page 23 of 54

Exhibit #3
TRO Application
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.677 Page 24 of 54

5/15/23, 5:29 PM Gmail - Court eFiling Order Rejected for Justin S. Beck vs. The State Bar of California, Case # 30-2021-01237499-CU-PN-CJC

Reg Gmail Justin Beck <justintimesd@gmail.com>

Court eFiling Order Rejected for Justin S. Beck vs. The State Bar of California, Case
# 30-2021 -01237499-CU-PN-CJC

donotreply@swiftattorneyservice.mail.legalconnect.com Wed, Feb 15,
<donotreply@swiftattorneyservice.mail.legalconnect.com> 2023 at 11:11AM
To: justintimesd@gmail.com

Court eFiling Order Rejected

Your Court eFiling order has been rejected. Please review the rejection notice and resubmit your filing.

Rejection Notice (court returned document)

Notice of Confirmation of Filing (court returned document)

Payment Receipt (court returned document)

Notice of Motion (court returned document)

Notice of Confirmation of Filing (court returned document)

Separate Statement (court returned document)

Notice of Confirmation of Filing (court returned document)

Declaration in Support (court returned document)

Filing Status: Rejected
At: Central Justice Center

Should you have any questions, please contact us or log in and manage your cases and orders at http://www.
swiftattorneyservice.com

Thank you for using Swift Attorney Service.
Order(s): 6172307

Billing Code: SysGen

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500 Allerton Street Suite 105, Redwood City, CA 94063

Contact Us oo
Beck TRO Application (3:23-CV-0882-JES-NLS)
https://mail .google.com/mail/u/0/?ik=cee2a89658& view=pt&search=all& permmsgid=msg-f:1757925403254089682&simpl=msg-f: 1757925403254089682 1/2
Exhibit 3: 001
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.678 Page 25 of 54

Exhibit #4
TRO Application
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.679 Page 26 of 54

 

FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE

STREET ADDRESS: 700 W. Civic Center DRIVE
MAILING ADDRESS: 700 W. Civic Center Drive
CITY AND ZIP CODE: Santa Ana, CA 92701
BRANCH NAME: Central Justice Center

 

SHORT TITLE: Beck vs. The State Bar of California

 

CASE NUMBER:
30-2021-01237499-CU-PN-CJC

The electronic filing described by the summary data below was reviewed and rejected by the
Superior Court of California, County of Orange

E-Filing Summary Data
Electronically Submitted By: Justin Beck

NOTICE OF REJECTION OF ELECTRONIC FILING

 

 

 

 

On Behalf of:

Transaction Number: 11109823
Court received Date: 03/03/2023
Court received Time: 03:34:40 PM

Amount not to Exceed:
Documents Electronically Filed

Request for Entry of Default

This electronic filing was rejected based on the following reason(s):

Reject Reason 1: Other
Clerk's comments to submitter:
This case has been removed to Federal Court, case suspended.

E-Filing Service Provider Information

 

Name: LegalConnect

Email: support@legalconnect.com

Contact Person: Customer Support

Phone: 8009096859
E-filing Rejection Notice
Date Printed: 03/10/2023
User ID: ndorfman

03/10/2023 E-FILING REJECTION NOTICE Page: 1

Beck TRO Application (3:23-CV-0882-JES-NLS)

Exhibit 4: 001
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.680 Page 27 of 54

Exhibit #5
TRO Application
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23

PagelD.681 Page 28 of 54

POS-010

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):

Justin Beck

3501 Roselle St

Oceanside, CA 92056

TELEPHONE NO.: (760) 449-2509 FAX NO, (Optional):

E-MAIL ADDRESS (Optional):
ATTORNEY FOR (Name): Self Represented

FOR COURT USE ONLY

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE - CENTRAL
STREET ADDRESS: 700 Civic Center Drive West
MAILING ADDRESS: 700 Givic Center Drive West
CITY AND ZIPCODE: Santa Ana, CA92701
BRANCH NAME: SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE -
CENTRAL

 

PLAINTIFF/PETITIONER: Justin S. Beck
DEFENDANT/RESPONDENT: Ruben Duran

CASE NUMBER:
30-2021 -01237499-CU-PN-CJC

 

 

PROOF OF SERVICE SUMMONS

Ref. No. or File No.:

 

 

 

(Separate proof of service is required for each party served.)

At the time of service | was atleast 18 years of age and nota partyto this action.

| served copies of: Summons; Plaintiff Justin S. Beck's First Amended Complaint for Damages &amp; Injunctive Relief

a, Party served (specify name of party as shown on documents served): THE STATE OF CALIFORNIA

b. Person (other than the partyin item 3a) served on behalf of an entity or as an authorized agent (and not a person
under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):

Officer B. Silkwood, Authorized Agent

Address where the partly was served: 1300/St, Sacramento, CA 95814

| served the party (check proper box)

a. [x ] by personal service. | personally delivered the documents listed in item 2 to the parly or person authorized to receive

service of process for the party (1) on. 7/21/2022 (2) at: 11:45 AM

b, [| by substituted service. On: at: I leftthe documents listed in item 2 with or in the presence of (namo and fife or

relationship to person indicated in item 3):
( Gender: Female Height: Weight: Race: Hair: Other: )

(1) [ (business) a person atleast 18 years of age apparently in charge at the office or usual place of business
of the person to be served. | informed him or her of the general nature of the papers.

(2) (home) a competent member of the household (at least 18 years of age) at the dweling house or usual
L] place of abode of the party. | informed him or her of the general nature of the papers.

cy (physical address unknown) a person of atleast 18 years of age apparently in charge at the usual

mailing address of the person to be served, other than a United States Postal Service post office box. |

informed him or her of the general nature of the papers.

 

(4) | thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at
[| the place where the copies were left (Code Civ, Proc., § 415.20). | mailed the documents:
on: from: or [ja declaration of mailing is attached.
Page 1of 3
POS-010 [Rew January 1, 2007] PROOF OF SERVICE OF SUMMONS

Beck TRO Application (3:23-CV-0882-JES-NLS)

Exhibit 5: 001

Invoice # 6173009
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.682 Page 29 of 54

 

 

PLAINTIFF/PETITIONER: Justin S. Beck CASE NUMBER:
DEFENDANT/RESPONDENT: Ruben Duran 30-2021-01237499-CU-PN-CJC

 

 

 

(5) [] lattach a declaration of diligence stating actions taken first to attempt personal service.

by mail and acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party, to the
address shown in itern 4, by first-class mail, postage prepaid,

(1) on: (2) from:
(3) [J with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope
addressed to me, (Alfach compiated Notice and Acknowledgment of Receipt.) (Code Civ. Proc., § 415.30.)

(4) i to an address outside California with return receipt requested, (Code Giv, Proc, § 415.40.)

d. [| by other means (specify means of service and authorizing code section):

[| Additional page describing service is attached.

 

6. The "Notice to the Person Served" (on the summons) was com pleted as follows:
a. [| as an individual defendant.
b [| as the person sued under the fictitious name of (specify):
c, as occupant.
d [x] On behalf of (specify): THE STATE OF CALIFORNIA
under the following Cade of Civil Procedure section:
[| 416,10 (corporation) [_] 415.95 (business organization, form unknown)
Lo 416.20 (defunct corporation) [_] 416.60 (minor)
[| 416.30 (joint stock [_] 416.70 (ward or consarvatee)
company/assoclation) |
[| 416.40 (association or partnership) [| 416.90 (authorized person)
[3¢] 416.50 (public entity) [__] 415.46 (occupant)
[-_] other:
7. Person who served papers
a. Name: Michael Lynn Henry
b. Address: 500 Allerton Street Suite 105, Redwood City, CA 94063
c. Telephone number; 650-364-9612
d. The fee for service was: | W(y.0O
e. lam:
(1) [-_] nota registered California process server,
(2) [-_] exempt from registration under Business and Professions Code section 22350(b). |
(3) [x] a registered California process server: |
(i) [-_] owner [7] employee [-X_] independent contractor. |
(li) Registration No.: 2019-24
(iii) County: Sacramento
POS-010 Rev. January 1, 2007) PROOF OF SERVICE OF SUMMONS Page 2of 3

Beck TRO Application (3:23-CV-0882-JES-NLS) Invoice#: 6173009

Exhibit 5: 002
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.683 Page 30 of 54

 

PLAINTIFF/PETITIONER:
DEFENDANT/IRESPONDENT:

 

Justin 8. Back
Ruben Duran

 

CASE NUMBER:
30-202 4-01237499-CU-PN-CJG

 

 

8. [x ] ' daclare under penalty of perjury under the Jaws of tha State of California that tha foregoing ts true and correct,

Le

Iehael Lynn Het Date: 07/22/2022

 

POS-010 [Rov danvery 1, 2007]

PROOF OF SERVICE OF SUMMONS

Beck TRO Application (3:23-CV-0882-JES-NLS)

Exhibit 5: 003

Pago dol 3
Involca#: 6173009

 
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.684 Page 31 of 54

Exhibit #6
TRO Application
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.685

SUPERIOR COURT OF CALIFORNIA,

COUNTY OF ORANGE
CIVIL COMPLEX CENTER
MINUTE ORDER
DATE: 04/18/2023 TIME: 03:56:00 PM DEPT: CX105
JUDICIAL OFFICER PRESIDING: Randall J. Sherman
CLERK: J. Phu
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT:

CASE NO: 30-2020-01145998-CU-BT-CXC CASE INIT.DATE: 05/26/2020
CASE TITLE: Beck vs. Catanzarite
CASE CATEGORY: Civil - Unlimited CASE TYPE: Business Tort

 

 

EVENT ID/DOCUMENT ID: 73996413
EVENT TYPE: Chambers Work

 

APPEARANCES

 

There are no appearances by any party.

Page 32 of 54

Ex-Parte application for Entry of Protective Order in Favor of Justin S. Beck, Denial of Motions to
Compel, Advancement of Demurrer and Motion to Strike Portions of Complaint Hearing Dates, and/or

Other Relief the Court Deems Just is requested by plaintiff, Justin S. Beck.

Ex Parte Application is denied without a hearing. No good cause to have this matter heard on shortened

notice by an Ex Parte Application.
The Ex Parte set for 4/19/2023 at 1:30 PM in Department CX105 is vacated.

Court orders clerk to give notice.

DATE: 04/18/2023 MINUTE ORDER ~
DEPT: CxX105

Beck TRO Application (3:23-CV-0882-JES-NLS)

Exhibit 6: 001

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TENTATIVE RULINGS
JUDGE RANDALL J. SHERMAN
DEPARTMENT CX105

MAY 5, 2023

Appearances, whether remote or in person, must be in compliance with Code of
Civil Procedure §367.75, California Rules of Court, Rule 3.672, and Superior Court of
California, County of Orange, Appearance Procedure and Information, Civil
Unlimited and Complex, located at https:/ / www.occourts.org/media-

relations/ covid/ Civil_Unlimited_and_Complex_Appearance_Procedure_and_Infor
mation.pdf. Uniess the court orders otherwise, remote appearances will be
conducted via Zoom through the court's online check-in process, available at
https: / / www.occourts.org/media-relations/ civil.html. Information, instructions
and procedures to appear remotely are also available at

https: / /www.occourts.org/media-relations/aci.html. Once online check-in is
completed, counsel and self-represented parties will be prompted to join the
courtroom’s Zoom hearing session. Participants will initially be directed to a virtual
waiting room while the clerk provides access to the video hearing.

Court reporters will not be provided for motions or any other hearings. If a party
desires a court reporter for a motion, it will be the responsibility of that party to
provide its own court reporter. Parties must comply with the court’s policy on the
use of pro tempore court reporters, which can be found on the court's website at
www,occourts.org/media/pdf/Privately Retained Court Reporter Policy.pdf.

If you intend to submit on the tentative ruling, please advise the other parties and
the court by calling (657) 622-5305 by 9:00 a.m. on the hearing date. Make sure
the other parties submit as well before you forgo appearing, because the court
may change the ruling based on oral argument. Do not call the clerk about a
tentative ruling with questions you want relayed to the court. Such a question may
be an improper ex parte communication.

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8 | Beck vs. Catanzarite
2020-01145998

 

 

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Defendant Kenneth J, Catanzarite’s Motion to Compel
Responses and Production of Documents to Request for
Production of Documents, Set One From Plaintiff Justin S.
Beck is granted. Defendant’s Request for Sanctions is
granted in the amount of $310, payable within 30 days.

Defendants Kenneth Catanzarite, Catanzarite Law
Corporation, Brandon Woodward, Tim James O'Keefe, Amy
Jeanette Cooper, Cliff Higgerson, Mohammad Zakhireh,
Richard Francis O'Connor, Jr, James Duffy, TGAP Holdings,
LLC and Mobile Farming Systems, Inc.’s Motion to Compel
Responses and Production of Documents to Request for
Production of Documents, Set Two From Plaintiff Justin S.

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Beck is granted. Defendants’ Request for Sanctions is
granted in the amount of $1,435, payable within 30 days.

Defendants Kenneth Catanzarite, Catanzarite Law
Corporation, Brandon Woodward, Tim James O'Keefe, Amy
Jeanette Cooper, Cliff Higgerson, Mohammad Zakhireh,
Richard Francis O'Connor, Jr, Jarmes Duffy, TGAP Holdings,
LLC and Mobile Farming Systems, Inc.’s Motion to Compel
Responses to Special Interrogatories From Plaintiff Justin
S. Beck is granted. Defendants’ Request for Sanctions is
granted in the amount of $1,185, payable within 30 days.

Defendant Kenneth J. Catanzarite’s Motion to Compel
Responses to Form Interrogatories From Plaintiff Justin S.
Beck is granted. Defendant’s Request for Sanctions is
granted in the amount of $60, payable within 30 days.

Plaintiff must serve complete, code-compliant, objection-
free responses to the Requests for Production of
Documents, Sets One and Two, Special Interrogatories
and Form Interrogatories, and any responsive documents
to the Requests for Production of Documents, Sets One
and Two, within 20 days. Good cause exists to compel
production of documents.

It is undisputed that defendants served the subject
discovery on plaintiff, and plaintiff failed and refused to
provide any responses to the discovery. Plaintiff does not
argue that the discovery requests themselves are
irrelevant or invalid. Rather, plaintiff claims that
Catanzarite should be disqualified as counsel, but plaintiff
fails to cite any legally valid basis that would excuse
plaintiff from his discovery obligations. Plaintiff has not
acted with substantial justification, and monetary
sanctions are mandatory under the Code of Civil
Procedure.

Moving party defendants are ordered to give notice of the
ruling.

 

 

 

 

 

 

 

 

 

 

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Beck TRO Application (3:23-CV-0882-JES-NLS)

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State Bar of California Releases Reports Detailing Past Unethical Conduct in Handling Girardi
Complaints

Agency to Implement Additional Enhancements to Strengthen Oversight, Improve Discipline System,
and Prevent Conflicts of Interest

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Friday, March 10, 2023 Categories: News Releases

The State Bar of California Board of Trustees released today two redacted reports on its past handling of
complaints against disgraced and disbarred attorney Thomas V. Girardi. The Board decided to release the
reports in furtherance of the agency's public protection mission and its commitment to transparency and
accountability. In releasing these reports, the State Bar has redacted information that is protected under the
law, including California Business and Professions Code section 6086.1, and the right to privacy.

The first report was prepared by attorney Alyse Lazar, who in 2021 was retained by the State Bar to review
115 files of past complaints against Girardi. Her review, limited to documents in investigative files, identified
numerous instances in which complaints were closed without complete investigations or despite the
development of facts warranting discipline. A redacted version of the report is posted here.

The second report was completed by Halpern May Ybarra Gelberg LLP. an outside law firm hired by the
State Bar to conduct a wide-ranging investigation that was not limited to file review and included interviews
of 74 witnesses and extensive evidence gathering. The May report details instances where Girardi’s efforts
to buy relationships and exercise influence at the State Bar—at all levels—likely impacted the handling of
some complaints against him, causing those complaints to be closed improperly. A redacted version of the
report is posted here.

Together, the two reports provide a clear and comprehensive review of how Girardi’s unethical and
unacceptable behavior went unchecked for so long and reveal systemic organizational dysfunction that
persisted for many years and through many changes of leadership. Importantly, none of the individuals
whose unethical behavior is detailed in the May report are still affiliated with or employed by the State Bar in
any capacity.

"To ensure that what happened in the Girardi matter never happens again, we commissioned unflinching

investigations by outside experts, are making the results public to the extent we can legally do so, and are

addressing the findings comprehensively,’ said Ruben Duran, Chair of the State Bar Board of Trustees.

“While none of the individuals named in the May report are still at the State Bar, the magnitude and duration
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https://www calbar,ca.gov/About-Us/News/News-Releases/state-bar-of-california-releases-reports-detailing-past-unethical-conduct-in-handling-girardi-complaints 1/4
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of the transgressions reveal persistent institutional failure and a shocking past culture of unethical and
unacceptable behavior. In recent years we have put in place many safeguards that serve both to prevent
unethical or corrupt behavior and—if it does occur—to catch and address it quickly. That work continues.
Providing this disclosure is a necessary step to demonstrate our commitment to transparency and
accountability and restore public trust.”

The findings

During a 16-month investigation, May and his team reviewed over 950,000 documents, issued 23
subpoenas, and interviewed, either voluntarily or under compulsion, 74 witnesses, The May report indicates
that Girardi intentionally cultivated relationships at many levels in the State Bar to increase his influence in
the agency. The report outlines several instances of past State Bar staff exercising poor judgment, ignoring
or poorly handling conflicts of interest, and otherwise behaving unethically. None of the individuals identified
as engaging in unethical conduct remain affiliated with or employed by the State Bar.

Examples include:

e Former State Bar employee Tom Layton, who was terminated in 2015, (and his wife) received gifts and
payments estimated at over $1 million from Girardi, through his firm, while Layton was employed at
the State Bar. Those payments and gifts were never properly disclosed.

e Other State Bar employees and Board members accepted and failed to report gifts and other items of
value from Girardi.

e Relatives of staff members were employed by Girardi’s firm.

¢ Staffin the Office of Chief Trial Counsel (OCTC) were improperly involved in matters assigned to
outside conflict counsel.

e Eight Girardi cases were closed by individuals who May determined had conflicts of interest at the
time they worked on the cases. The report found that their conflicts tainted their decisions to close the
cases,

¢ Interim Executive Director Bob Hawley ghostwrote decisions in matters assigned to outside conflict
counsel without disclosing that fact, including a decision to recommend closure of a complaint
against Girardi.

e Between 2013 and 2015, both the Executive Director's Office and Office of General Counsel received
reports about Girardi's influence at the State Bar and connection to Layton and others but failed to
investigate.

e Former Executive Director Joe Dunn, who was terminated in 2014, and Hawley made questionable
terminations of two OCTC attorneys who were advocating for disciplinary actions against Girardi.

e On at least one occasion, Girardi successfully deployed his connections at the State Bar to discourage
people from making complaints against him.

The May report found that—while the State Bar has since done much to remedy these problems—in the
past, conflict policies were weak, record-keeping on conflicts was incomplete, and awareness of conflict
rules, which should have influenced case assignments and handling, was low.

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The 2021 Lazar report revealed errors made in case closures over the four decades of Girardi’s career. In
particular, the report identified significant issues regarding the investigation and evaluation of high-dollar,
high-volume trust accounts. The 2021 Lazar report prompted the Board to undertake the May investigation
and to take several actions by the Board to strengthen the discipline system.

Actions already taken

Current Board and staff leadership have already taken many steps to reform the agency. Many of the
failures outlined in the May report occurred before 2018, when the State Bar shed its professional
association functions and focused more sharply on its public protection mission. Examples of these
reforms include:

e More robust policies and procedures regarding conflicts-of-interest and gifts that recognize the
importance of avoiding the appearance of impropriety and mandate frequent reporting.

e New OCTC policies that limit the ability to close cases when a complaining party withdraws a
complaint.

¢ Improvements in how OCTC reviews patterns of complaints.

e Numerous steps to strengthen the Special Deputy Trial Counsel (SDTC) Program, which handles cases
when internal staff have conflicts.

e Elimination of Board elections. All Trustees are now appointed, and elections for Board officer
positions have also been eliminated.

e Greater oversight by the Board of the CTC and SDTC.

Looking ahead

Before the May report was submitted, the Board created an Ad Hoc Committee on Oversight and
Accountability Reforms to review the findings and recommendations from the May report and recommend
additional changes in State Bar governance and operations. Committee members are Trustees Arnie Sowell,
Jr., Hailyn J. Chen, and Melanie M. Shelby.

After its members fully consider the May report's findings in conjunction with the Lazar report, the

committee will make recommendations that will be posted for public comment before being acted on by the
Board of Trustees.

“The commissioning and release of the May and Lazar reports represent important steps in the State Bar's
efforts to better fulfill its public protection mission by fostering a culture grounded in integrity, accountability,
and transparency,’ Duran said. “While much has already been achieved, these investigations equip us to
further strengthen governance, ethical culture, policies, and procedures.”

Frequently asked questions about the release of these reports and past actions on the Girardi matter are
posted here.

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The State Bar of California's mission is to protect the public and includes the primary functions of licensing,
regulation and discipline of attorneys; the advancement of the ethical and competent practice of law; and
support of efforts for greater access to, and inclusion in, the legal system.

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5/15/23, 6:05 PM Central District of California | Former Clerk in Orange County Superior Court Sentenced to Over 11 Years in Federal Prison for Racketeering Of...

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PRESS RELEASE

Former Clerk in Orange County Superior Court Sentenced to
Over 11 Years in Federal Prison for Racketeering Offense

Stemming from Bribery Scheme to ‘Fix’ Criminal Cases and
Traffic Charges

Friday, September 22, 2017

For Immediate Release

U.S. Attorney's Office, Central District of California

SANTA ANA, California-A former clerk of the Orange County Superior Court was
sentenced today to 135 months in federal prison for orchestrating a scheme in which he was
paid approximately $420,000 dollars in bribes to “fix” criminal cases and traffic offenses on
terms favorable to hundreds of defendants without the knowledge of prosecutors or judges.

Jose Lopez Jr., 36, of Anaheim, was sentenced this morning after pleading guilty in March
to one count of conspiring to violate the federal Racketeer Influenced and Corrupt
Organizations Act (RICO).

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Lopez was sentenced by United States District Judge Josephine L. Staton, who said Lopez
created, led and profited from the scheme.

“This [criminal conduct] was not an aberration from his character -this was his character,”
the judge said.

Lopez admitted that he was at the center of a scheme in which bribes as high as $8,000
were paid to co-conspirators to fraudulently resolve cases for hundreds of defendants. The co-
conspirators were middlemen who recruited individuals with pending cases to pay money that
was given to Lopez to resolve their cases without the authorization of the court.

“People who were facing their second drunk driving offense were able to bribe their way
out of mandatory jail sentences,” said Acting United States Attorney Sandra R. Brown. “Mr.
Lopez led a long-running scheme that brought him well over $400,000 and caused untold
damage to the operations and reputation of the criminal justice system in Orange County.”

According to court documents, Lopez improperly resolved approximately 1,034 cases,

including 69 misdemeanor driving under the influence cases, 160 other misdemeanor cases and
805 traffic-related infraction cases.

Over the course of more than five years, Lopez “resolved” cases by entering information
into the court’s computers to make it appear that a defendant had pleaded guilty, paid required
fees or had performed community service. In some cases, Lopez fraudulently created records

that made it appear drunk driving charges had been dismissed or defendants had served
mandatory jail time.

In addition to taking the bribes and falsifying court records, Lopez forged the signature of
a prosecutor with the Orange County District Attorney’s Office.

The conspiracy ended in the spring of 2015 when the Orange County Superior Court
learned about the misconduct and took steps to reopen the cases that Lopez tampered with.

“Because of [Lopez]’s corrupt actions, the Orange County Superior Court audited each and
every case that [Lopez] handled,” prosecutors wrote in a sentencing memorandum filed with the
court. “The state court recalled the cases where fraud was found to restore the integrity of its
records.” According to a victim impact statement submitted by the Orange County Superior

Court, Lopez's corruption scheme cost the Orange County Superior Court about $170,000 to
clean up.

Lopez used the money he received as part of the scheme to pay for, among other things,
international vacations, trips to Las Vegas and the opening of a restaurant in Garden Grove.

“Defendant Lopez was entrusted with protecting the interests of justice but instead made

a lucrative income operating an underground business for clients seeking a pass on criminal
Beck TRO Application (3:23-CV-0882-JES-NLS)
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5/15/23, 6:05 PM Central District of California | Former Clerk in Orange County Superior Court Sentenced to Over 11 Years in Federal Prison for Racketeering Of...
activity,” said Danny Kennedy, the Assistant Director in Charge of the FBI’s Los Angeles Field
Office. “The successful investigation and prosecution of Mr. Lopez and his many co-conspirators
is a result of a collaborative effort by multiple agencies and should serve as a warning to public
officials who use their access to benefit personally.”

“Mr. Lopez used his public position of trust to enrich himself and undermined public

safety,” stated IRS Criminal Investigation’s Acting Special Agent in Charge Aimee Schabilion.
“IRS Criminal Investigation will continue to use our financial investigative expertise to combat
public corruption and hold officers of the court accountable for their actions.”

Lopez is one of a dozen defendants who have been convicted of participating in the

racketeering conspiracy. The other 10 defendants who have pleaded guilty before Judge Staton

are:

Ricardo Quinones, 33, of Santa Ana, who was sentenced to 15 months in federal prison;

Juan C. Rosas Santillana, 33, of Chino Hills, who is scheduled to be sentenced on October
13;

Ramon Salvador Vasquez, 28, of Santa Ana, who was sentenced to two years in prison;
Manuel Galindo Jr., 27, of Santa Ana, who was sentenced to one year and one day in prison;

Gibram Rene Lopez, also known as “Ivan,” 27, of Anaheim, who was also sentenced today to
15 months in prison;

Agustin Sanchez Jr., 33, of Santa Ana, who was sentenced to one year and one day in
prison;

Luis Alberto Flores Guillen, also known as “Bills,” 27, of Santa Ana, who was sentenced last
Friday to 10 months (five months in jail and five months of home confinement);

Oscar Centeno, also known as “Mosquito,” 27, of Santa Ana, who is scheduled to be
sentenced on November 17;

Jeff Reynes Fernandez, also known as “Lean,” 25, of Fullerton, who was sentenced last
Friday to one year and one day in prison ; and

Jesus Saldana, 29, of Garden Grove, who was sentenced to 10 months (five months in jail
and five months of home confinement).

The twelfth defendant, Javed Asefi, also known as “Joey,” 44, of Ladera Ranch, was found

guilty by a federal jury earlier this month and is scheduled to be sentenced on December 8.

Prior to the 12-defendant indictment being returned by a federal grand jury last fall, three

other recruiters pleaded guilty to federal bribery charges, including Rebeca Sarai Rosell, who

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worked at a Santa Ana bail bonds company and funneled a bribe to Lopez so a second-time
drunk driving offender could avoid serving his mandatory 60-day jail sentence.

This case was investigated by special agents with the Federal Bureau of Investigation and
IRS Criminal Investigation.

This case was prosecuted by Assistant United States Attorney Vib Mittal of the Santa Ana
Branch Office.

Contact

Thom Mrozek

Spokesperson/Public Affairs Officer
United States Attorney's Office

Central District of California (Los Angeles)
213-894-6947

Updated April 18, 2023

Component

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Press Release Number: 17-166

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May 11, 2023

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January 6, 2023

 

 

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5/15/23, 6:09 PM Justice Department Finds Civil Rights Violations by Orange County, California, District Attorney’s Office and Sheriff's Department in Use of Ja...

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THE UNITED STATES
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Department of Justice
Office of Public Affairs
FOR IMMEDIATE RELEASE Thursday, October 13, 2022

Justice Department Finds Civil Rights Violations by Orange County, California,
District Attorney’s Office and Sheriff's Department in Use of Jailhouse Informants

Assistant Attorney General Kristen Clarke of the Justice Department's Civil Rights Division announced today, based
upon a thorough investigation focused on custodial informant activity from 2007 through 2016, that the Orange County
District Attorney’s Office and the Orange County Sheriff's Department operated a custodial informant program that
systematically violated criminal defendants’ Sixth Amendment right to counsel and Fourteenth Amendment right to due
process of law.

Specifically, the department found reasonable cause to believe that Orange County prosecutors and Sheriff deputies
violated the Sixth Amendment by using jailhouse informants to elicit incriminating statements from people who had been
arrested, after those individuals had been charged with a crime. The department also found that Orange County
prosecutors violated the Fourteenth Amendment by failing to disclose exculpatory evidence about those custodial
informants to criminal defendants. The department believes that OCDA and OCSD stopped using informants as agents
of law enforcement to obtain statements from charged defendants in the Orange County Jail in 2016.

The Justice Department provided a comprehensive, written report of its investigative findings to the Orange County
District Attorney and Sheriff. The report explicitly acknowledges the reforms that the District Attorney's Office and the
Sheriff's Department have implemented already, and identifies the additional remedial measures that the department
believes are necessary to fully address its findings.

“All persons who are accused of a crime are guaranteed basic constitutional protections that are intended to ensure
fairness in criminal proceedings and due process of law,” said Assistant Attorney General Kristen Clarke. “Prosecutors
and law enforcement officers have an obligation to uphold these rights in their fight against crime and in their pursuit of
justice, including in the way that they use custodial informants against criminal defendants. The failure to protect these
basic constitutional guarantees not only deprives individual defendants of their rights, it undermines the public’s
confidence in the fundamental fairness of criminal justice systems across the county.”

The evidence uncovered by the department reveals that custodial informants in the Orange County Jail system acted as
agents of law enforcement to elicit incriminating statements from defendants represented by counsel, and that for years
Orange County Sheriff deputies maintained and concealed systems to track, manage, and reward those custodial
informants. The evidence also reveals that Orange County prosecutors failed to seek out and disclose exculpatory
information regarding custodial informants to defense counsel.

The department opened this investigation in 2016. The department reviewed thousands of pages of documents,
conducted numerous site visits and interviewed dozens of witnesses, including Orange County prosecutors. The
department also monitored developments in criminal cases, including those that culminated recently. Orange County
officials cooperated throughout the investigation.

The Special Litigation Section of the Department of Justice Civil Rights Division in Washington, D.C., conducted the

investigation pursuant to the Violent Crime Control and Law Enforcement Act of 1994, which prohibits state and local
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https://www justice.gov/opa/pr/justice-department-finds-civil-rights-violations-orange-county-california-district-attorney-s 1/2
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5/15/23, 6:09 PM Justice Department Finds Civil Rights Violations by Orange County, California, District Attorney's Office and Sheriff's Department in Use of Ja...
governments from engaging in a pattern or practice of conduct by law enforcement officers that deprives individuals of
rights protected by the Constitution or federal law. The statute allows the department to remedy such misconduct
through civil litigation.

The Special Litigation Section will be contacting members of the Orange County community for input on reforms to
address the department's findings. Individuals may also submit recommendations by email at

Community. OrangeCountyCA @ usdgj.gov.

 

Information specific to the Civil Rights Division’s Police Reform Work can be found here:

https:/www. justice. gov/crt/file/922421/download.

 

 

Attachment(s):
Download Findings Report

Topic(s):
Civil Rights

Component(s):
Civil Rights Division
Civil Rights - Special Litigation Section
Press Release Number:
22-1097
Updated October 13, 2022

Beck TRO Application (3:23-CV-0882-JES-NLS)
https://www justice gov/opa/pr/justice-department-finds-civil-rights-violations-orange-county-california-district-attorney-s
Exhibit 10: 002
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.705 Page 52 of 54

Exhibit #11
TRO Application
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.706 Page 53 of 54

5/15/23, 6:30 PM Gmail - Notice of Federal ADA Lawsuit v. Superior Court of California, County of Orange + U.S. DOJ Civil Rights Complaints #204141-CGZ ...

Ae" Gmail Justin Beck <justintimesd@gmail.com>

Notice of Federal ADA Lawsuit v. Superior Court of California, County of Orange +
U.S. DOJ Civil Rights Complaints #204141-CGZ + #290551-ZLR

Justin Beck judi @ineed Gamll’cants ess Mon, May 45, 2028 at 11:58 AM
To: ADAInformation <ADAInformation@occourts.org>, maria.hernandez@jud.ca.gov

Ce: civil.rights@usdoj.gov, soverton@cmda-law.com
Bcc: Angelina Dettamanti <adettamanti6 17 17@gmail.com>

RE: Notice of Federal Lawsuit under Title Il, ADA & Unruh Civil Rights Act Complaint for Declaratory Relief,
Injunctive Relief, and Damages in Justin S. Beck v. Superior Court of California, County of Orange, U.S. Southern
District of California (3:23-CV-0882-JES-NLS), Preservation of Evidence Letter, Notice of Application for
Temporary Restraining Order to Stay Proceedings in OCSC 30-2020-01145998

ATTN: Anthony Palumbo, Facilities Director; Becky Torres, ADA Coordinator; Maria Hernandez, Presiding Judge, Superior
Court of California, County of Orange

CC: United States Department of Justice, Civil Rights Division (#204141-CBZ + #290551-ZLR); Sarah L. Overton,
Cummings, McClorey, Davis, Acho & Associates, P.C.

To Whom it May Concern:

Please find the attached federal complaint filed under Title || of the Americans with Disabilities Act in the U.S. Southern
District of California. A summons has yet to issue, however, this is a good faith attempt to notify Superior Court of
California, County of Orange of my intent to move for temporary injunctive relief through an ex parte application. | am
including a draft of that application (attached).

As the Superior Court of California, County of Orange is aware -- | have vested claims to sue for damages under the
Government Claims Act, and this action was filed within 6-months of claim denial. Separately, | am including for reference
binding case law (United States v. Georgia, 546 U.S. 151, 126 8. Ct. 877 (2006)) concerning the alleged due process violations

to which I've been subject which also give rise to my claims for damages under ADA Title II and abrogation of sovereign
immunity.

Please retain all evidence in this matter. | am specifically interested in all internal communications upon receipt of my
disability accommodation requests after March 28, 2023, as well as prior communications by and between attorney
Suzanne Grandt, attorney Charles Tsai, Department C11 and Department CX105 and any clerks operating therein
between December 21, 2021 and present.

In accordance with your duty, please notify the data administrator for the Superior Court of California, County of Orange of
the pendency of the attached case (and 3:22-CV-01616-AGS-DDL) to preserve any email communications internally, or
between calbar.ca.gov and jud.ca.gov servers as well as all records of any inbound or outbound phone calls from
December 21, 2021 and present that may be reasonably related.

Attached you will find:

- Copy of filed complaint in Justin S. Beck v. Superior Court of California, County of Orange (3:23-CV-0882-JES-NLS)
- Exhibits to supplement the complaint (a compendium of exhibits is attached to the complaint)

~ United States v. Georgia, 546 U.S. 151, 126 8. Ct. 877 (2006) (due process violations under ADA Title II abrogate sovereign
immunity)

- Draft copy of my temporary restraining order application should you choose to oppose it*
- Seizure support reflecting the irreparable harm to which I've been subject proximately caused

Respectfully,

Justin S$, Beck

*Due to the short notice of this matter, it is unclear if I'm able to obtain the relief I'm requesting -- but the Superior Court of
California, County of Orange is nevertheless hereby noticed of the irreparable harm that its conduct has caused and will cause to a
Beck TRO Application (3:23-CV-0882-JES-NLS)

https://mail google com/mail/u/0/?ik=cee2a89658& view=pt&search=all&permmsgid=msg-a:r-727593 1 18536459756&simpl=msg-a'r-727593 1 18536459756 1/2
Exhibit 11: 0014
Case 3:23-cv-00882-AGS-DDL Document 4 Filed 05/16/23 PagelD.707 Page 54 of 54

5/15/23, 6:30 PM Gmail - Notice of Federal ADA Lawsuit v. Superior Court of California, County of Orange + U.S. DOJ Civil Rights Complaints #204141-CGZ....

disabled person absent such relief. I'm requesting a stay in OCSC Case No. 30-2020-01145998 on or before May 24, 2023, but allege
that U.S, District Court's actionlinaction in the matter is discrete of Superior Court of California, County of Orange's duties under
Title Il, ADA. I will seek any and all damages caused resulting from obstruction of my state proceedings, or as a result of failing to

stay the case pending either my accommodations, cessation of unlawful conduct in CX105, and/or resolution of my RICO and antitrust
allegations in 3:22-CV-01616-AGS-DDL.

Justin Beck
760-449-2509

5 attachments

@@} 3:23-CV-0882-JES-NLS Filed §_15_23.paf
8731K

# ADA Complaint EXHIBITS ONLY 5_15_23.pdf
14172K

United States v. Georgia.pdf
174K

# Seizure Support for OC ADA.pdf
600K

#) TRO from ADA Case DRAFT.pdf
179K

Beck TRO Application (3:23-CV-0882-JES-NLS)
https://mail.google.com/mail/u/O0/?ik=cee2a89658&view=pt&search=all& permmsgid=msg-a:1-727593 1 18536459756&simpl=msg-a:r-727593 118536459756
Exhibit 11: 002

2/2
